  CRIMINAL CASE COVER SHEET
  Defendant Name:           DENNIS WAYNE FLETCHER: KENZIE M. GREENE

  Place of Offense (City & County):        Bristol, TN; Sullivan Co. & Kin s art, TN; Sullivan, Co.

  Juvenile:           Yes_ _ No                   Matter to be Sealed:                Yes_._No

  Interpreter:        No           Yes                Language: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

  Total# of Counts:          _ _ Petty     __Misdemeanor (Class)                Felony        6

                                          ORIGINAL INDICTMENT                                                 Count(s)
                              U.S.C. Citation(s) and Description of Offense Charged
   Set 1         Conspiracy to distribute 50 grams or more of methamphetamine, a schedule II              1
                 controlled substance (21 USC§ 846, 841)(a)(l), (b)(l)(A)
                 Aided and abetted by another possess with intent to distribute 50 grams or more 2,5
                 ofmethamphetamine, a schedule II controlled substance (21 USC§ 84l)(a)(l),
                 (b)(l)(A), 18 U.S.C. § 2)
                 Aided and abetted by another possession of a firearm in furtherance of the drug          3
                 trafficking offense (18 U.S.C. § 924(c)(l)(A), 18 U.S .C. § 2)
                 Being a convicted felon in possession of a firearm ( 18 USC § 922(g)( 1))                4



                                       SUPERSEDING INDICTMENT                                                 Count(s)
                              U.S.C. Citation(s) and Description of Offense Charged
   Set 1         Conspiracy to distribute 50 grams or more of methamphetamine, a schedule II              1
                 controlled substance (21 USC§ 846, 84l)(a)(l), (b)(l)(A)
                 Aided and abetted by another possess with intent to distribute 50 grams or more 2, 5, 6
                 of methamphetamine, a schedule II controlled substance (21 USC§ 841)(a)(l),
                 (b )(1 )(A), 18 U.S.C. § 2)
                 Aided and abetted by another possession of a firearm in furtherance of the drug          3
                 trafficking offense (18 U.S.C. § 924(c)(l)(A), 18 U .S.C. § 2)
                 Being a convicted felon in possession of a firearm (18 USC § 922( g)(l))                 4



  Current Trial Date (if set):             11/21/19                                 before Judge Corker

  Criminal Complaint Filed:           No      Yes                 Case No.

  Defendant on Supervised Release:            Yes                 No

  Violation Warrant Issued?           No             Yes                 Case No.

 Related Case(s):

 Case Number               Defendant's attorney            How related



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  Criminal Informations:
  Pending criminal case: No     Y~       Ca.st:.No.
  New Separate Case      ---~S~npersedes Pending Case

  Name of defendant's attorney:

  Retained:                       Appointed:


  Date:          9/10/19                Signature of AUSA:




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